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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

WEST PENN ALLEGHENY HEALTH
SYSTEM, INC.,

               Consolidated Plaintiff and             Case No. 2:12-cv-00692-JFC
               Cross-Claim Defendant,
     v.                                               Consolidated with
UPMC,                                                 Case No. 2:09-cv-00480-JFC

               Consolidated Defendant and             Electronically Filed
               Cross-Claim Plaintiff,

       and together with

UPMC HEATH PLAN INC. and PRODIGO
SOLUTIONS LLC,

          Third-Party Plaintiffs,
     v.
HIGHMARK INC., PROTOCO PPI LLC,
PROTOCO SUPPLY CHAIN SERVICES LLC,
HMPG PHARMACY LLC, and WEST PENN
ALLEGHENY HEALTH SYSTEM INC.,

               Third-Party Defendants.

                  WEST PENN ALLEGHENY HEALTH SYSTEM, INC.’S
                     NOTICE OF DISMISSAL WITH PREJUDICE


       Pursuant to Rule 41(a)(2) of the Federal Rules of Civil Procedure, and the Court’s order

of December 20, 2013 (Doc. No. 230), plaintiff West Penn Allegheny Health System, Inc.

dismisses all claims in the second amended complaint, dated April 24, 2012, in Case No. 2:09-

cv-00480 1 against defendant UPMC, with prejudice, and with each party bearing its own

attorneys’ fees and costs incurred in connection with this action.




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       The Court consolidated this case with Case No. 2:12-cv-00692.
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Dated: December 30, 2013      Respectfully submitted,

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                              Attorneys for West Penn Allegheny Health System, Inc.
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                             CERTIFICATE OF SERVICE


      The undersigned certifies that, on December 30, 2013, a true and correct copy of the

foregoing WEST PENN ALLEGHENY HEALTH SYSTEM, INC.’S NOTICE OF DISMISSAL

WITH PREJUDICE was served on all counsel of record by the Court’s electronic filing system

(CM/ECF).



                                         /s/ Barbara T. Sicalides
                                         Barbara Sicalides
